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                         UNITED STATES BANKRUPTCY COURT

                                            FOR THE

                            EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

     In the Matter of:
                                                   Chapter 13
     SERETHA A. DAVIS
                                                   Case No. 07-13986-SSM

                           Debtor

                             MOTION TO DISMISS,
                        NOTICE OF MOTION TO DISMISS
                                   AND
                NOTICE OF SCHEDULED HEARING ON THIS MOTION

     Gerald M. O’Donnell, Chapter 13 Trustee, has filed this motion to dismiss your
     Chapter 13 case. The cause for this motion is as follows:
            Violation of 11 U.S.C. 1307(c)(6) - Material default by Debtor as is reflected
            in the attached Trustee’s Report of Receipts and Disbursements.

            Your rights may be affected. You should read these papers carefully and
     discuss them with your attorney, if you have one in this bankruptcy case. (If you
     do not have an attorney, you may wish to consult one.)
            If you do not wish the court to grant the relief sought in the motion, or if you
     want the court to consider your views on the motion, then on or before five business
     days prior to the hearing date, you or your attorney must:
            File with the court a written response with supporting memorandum as required
            by Local Bankruptcy Rule 9013-1(H). Unless a written response and
            supporting memorandum are filed and served by the date specified, the Court
            may deem any opposition waived, treat the motion as conceded, and issue an
            order granting the requested relief without further notice or hearing. If you mail
            your response to the court for filing, you must mail it early enough so the court
            will receive it on or before five business days prior to the scheduled hearing.
            You must mail a copy to the persons listed below.

     Attend the hearing to be held on August 13, 2008 at 1:30 p.m. in Courtroom #1 on
     the 2nd floor, United States Bankruptcy Court, 200 South Washington Street,
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     Notice and Motion to Dismiss
     Seretha A. Davis, Case #07-13986-SSM

     Alexandria, VA 22314. If no timely response has been filed opposing the relief
     requested, the court may grant the relief without holding a hearing.

            A copy of any written response must be mailed to the following persons:

                                   Gerald M. O’Donnell
                                   211 North Union Street, Ste. 120
                                   Alexandria, VA 22314

                                   Clerk of the Court
                                   United States Bankruptcy Court
                                   200 South Washington Street
                                   Alexandria, VA 22314


            If you or your attorney do not take steps, the court may decide that you do not
     oppose the relief sought in the motion and may enter an order granting that relief.

     Date: __July 16, 2008_____                          __/s/ Gerald M. O’Donnell_____
                                                         Gerald M. O’Donnell
                                                         Chapter 13 Trustee
                                                         211 N. Union Street, Ste. 240
                                                         Alexandria, VA 22314
                                                         (703) 836-2226
                                                         VSB 7930

                                 CERTIFICATE OF SERVICE

     I hereby certify that I have this 16th day of July, 2008, mailed a true copy of the
     foregoing Motion to Dismiss, Notice of Motion and Notice of Hearing to the following
     parties.

     Seretha A. Davis                             Robert Weed, Esq.
     Chapter 13 Debtor                            Attorney for Debtor
     PO Box 150971                                7900 Sudley Rd. Ste. 409
     Alexandria, VA 22315                         Manassas, VA 20109

                                                         ___/s/ Gerald M. O’Donnell_____
                                                         Gerald M. O’Donnell
